Case 9:20-cv-80604-RKA Document 17 Entered on FLSD Docket 07/06/2020 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-80604-CIV-ALTMAN

  MORIAH AHARON, et al.,

         Plaintiffs,
  vs.

  CHINESE COMMUNIST PARTY, and
  PEOPLE’S REPUBLIC OF CHINA,

        Defendants.
  _________________________/

                                                ORDER

         To better manage the orderly progress of the case, the Court hereby ORDERS the

  Defendants in this case to file their responses and motions jointly. When responding to the

  Complaint, the Defendants shall file either a joint motion or separate answers within the time

  remaining for the last-served Defendant to respond.

          If conflicts of position exist, the Defendants shall file a motion for leave to file separate

  responses, in which they will describe what those conflicts are. If the Defendants need more than

  twenty pages for their responses, they shall file a motion for leave to file excess pages, which the

  Court will entertain on an expedited basis.

         Failure to comply with these procedures may result in sanctions, including the striking of

  the motion(s) or response(s).

         DONE AND ORDERED in Fort Lauderdale, Florida this 6th day of July 2020.



                                                          ________________________________
                                                           ROY K. ALTMAN
                                                           UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
